      Case 7:25-cv-00229-EKD-JCH         Document 38-1       Filed 05/08/25     Page 1 of 1
                                         Pageid#: 171



                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

 RILEY AMORE and CAROLINE PARKER,

         Plaintiffs,

 v.
                                                    Case No. 7:25-cv-00229-EKD-CKM
 AMERICAN ASSOCIATION OF
 VETERINARY CLINICIANS et al.,

          Defendants.



                   [PROPOSED] ORDER GRANTING MOTION FOR
                ADMISSION PRO HAC VICE OF CHRISTOPHER C. YOOK

        Upon consideration of the Motion for Admission Pro Hac Vice of Christopher C. Yook,

dated May 8, 2025, it is hereby ORDERED that Christopher C. Yook is admitted to appear in the

above-captioned action as co-counsel on behalf of Defendants VCA Animal Hospitals, Inc. and

BluePearl Operations, LLC. The Clerk shall provide electronic notice of all electronic filings to

Christopher C. Yook at the following email address: cyook@kslaw.com.



Entered: ________________                           ____________________________
                                                    United States District Judge
